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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF RHODE ISLAND


 __________________________________________
                                           )
 JOAO MONTEIRO ,                           )
                         Plaintiff,        )
                                           )
                   v.                      )        No. 1:21-cv-00046-MSM-LDA
                                           )
 SUSAN CORMIER,                            )
                         Defendant.        )
 __________________________________________)



                            MEMORANDUM & ORDER


 Mary S. McElroy, United States District Judge.

                              I.      INTRODUCTION

       Ten-year-old Christine Cole (“Christine”) disappeared from Pawtucket, Rhode

 Island, on January 6, 1988.       She was last seen about one-half mile from the

 Blackstone River. Fifty-four days later, her body was discovered washed up on the

 beach at Conimicut Point in Warwick, some miles away but connected to the point of

 last appearance by a series of waterways. The cause of death was drowning. (ECF

 No. 50-2 at 76-77.)   Christine was reportedly afraid of water and could not swim.

 There was no evidence of sexual assault or other physical trauma. Id. at 77-80.

 Nothing in the autopsy report “suggest[ed] anything besides her death was caused by

 an accidental drowning.” (ECF No. 50-2 at 83.) For the next thirty years, there were

 virtually no leads into what had happened to the child. Then, in August 2018, based



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 on a familial DNA result, 1 the Pawtucket Police Department (“Department”)

 reopened the investigation. Nearly a year later, on July 17, 2019, the Department

 held a press conference to announce the arrest of plaintiff Joao Monteiro for murder.

       Although there is no transcript of the press conference, 2 it is fair to infer that

 credit for Monteiro’s arrest was given to the lead detective on the case, defendant Det.

 Susan Cormier, and perhaps to her partner, defendant Det. Trevor LeFebvre. Mr.

 Monteiro was held in jail for three days until bail was set at his arraignment. Six

 months later, all charges were dismissed after a review of the evidence by the

 Attorney General’s prosecution staff. (ECF No. 50-49.)

       Mr. Monteiro brought this action against the City of Pawtucket and several of

 its police officers to recover for a series of constitutional and state law torts that

 stemmed from what he claims was a reckless or deliberate mischaracterization of the

 DNA results to give the false impression that his DNA was a specific, exclusive

 “match” to that recovered from Christine’s clothing.       It is undisputed that even

 though state forensic expert defendant Tamara Wong found that the similarities



 1 Familial DNA refers to a DNA result that instead of “matching” to a particular

 person matches a family line whose members share genetic markers. When a
 perpetrator’s DNA is not contained in a national database, it is sometimes the case
 that the DNA of a relative of that person is in the database. In that event, knowing
 it has “familial DNA” rather than the DNA of a specific singular person, law
 enforcement can focus on the members of the family of the person whose DNA shared
 markers with the perpetrator. See Global Justice Information Sharing Initiative, “An
 Introduction to Familial DNA Searching, https://bja.ojp.gov/sites/g/files/xyckuh186
 /files/media/document/an_introduction_to_familial_dna_searching1.pdf (Sept. 26,
 2003).

 2 The plaintiff has submitted a newspaper article that recounts what was said at the

 press conference concerning DNA. (ECF No. 50-19.)
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 between Mr. Monteiro’s DNA and that of the stain would be shared by as many as 1

 out of every 1,909 males, she informed Det. Cormier that the analysis of Mr.

 Monteiro’s DNA produced “a match.” The plaintiff alleges that despite being told that

 Mr. Monteiro’s results were “shared with family members,” Det. Cormier believed

 that this result pointed to Mr. Monteiro as a specific, unique DNA match — a “1 in

 10 billion match” -- and proceeded as if that understanding were correct.

       At the time of Mr. Monteiro’s arrest, he was married and had four children. 3

 As a result of the publicity accusing him of Christine’s murder, Mr. Monteiro alleges

 that he lost his job despite his tenure of 15 years with a single employer and has not

 been able to work since. He has reported that he became homeless. According to a

 declaration from his sister, he became a recluse in the wake of the publicity

 identifying him as a child murderer. (ECF No. 50-56.)

               II.    JURISDICTION AND STANDARD OF REVIEW

       Federal question jurisdiction is invoked pursuant to 28 U.S.C. § 1331. The

 lawsuit is brought under the umbrella of 42 U.S.C. § 1983, alleging violations of civil

 rights by state officials. Mr. Monteiro seeks damages for constitutional malicious

 prosecution (Count I), arrest without probable cause (Count II), conspiracy to deprive

 of constitutional rights (Count IV), and failure to intervene to prevent

 unconstitutional conduct (Count V). He has sued under state law for false




 3 Mr. Monteiro’s wife died in 2019.   (ECF No. 50-42.)
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 arrest/imprisonment (Count VI), the tort of malicious prosecution (Count VII),

 intentional infliction of emotional distress (Count VIII), and slander (Count IX). 4

       All defendants have moved for summary judgment. 5 Summary judgment’s role

 in civil litigation is “to pierce the pleadings and to assess the proof in order to see

 whether there is a genuine need for trial.” Garside v. Osco Drug Inc., 895 F.2d 46, 50

 (1st Cir. 1990).   Summary judgment can be granted only when “the pleadings,

 depositions, answers to interrogatories, and admissions on file, together with the

 affidavits, if any, show there is no genuine issue as to any material fact and the

 moving party is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56. “A

 dispute is genuine if the evidence about the fact is such that a reasonable jury could

 resolve the point in the favor of the non-moving party. A fact is material if it carries

 with it the potential to affect the outcome of the suit under the applicable

 law.” Santiago–Ramos v. Centennial P.R. Wireless Corp., 217 F.3d 46, 52 (1st Cir.

 2000) (quoting Sanchez v. Alvarado, 101 F.3d 223, 227 (1st Cir. 1996)).

       In ruling on a motion for summary judgment, the court must examine the

 record evidence “in the light most favorable to, and drawing all reasonable inferences

 in favor of, the nonmoving party.” Feliciano de la Cruz v. El Conquistador Resort &

 Country Club, 218 F.3d 1, 5 (1st Cir. 2000) (citing Mulero–Rodriguez v. Ponte,



 4 Mr. Monteiro dismissed Count III, alleging a denial of equal protection.   Count X
 claims indemnification by the City of Pawtucket and is not itself a cause of action;
 instead, it goes to the allocation of damages, if any, between the City employees and
 the municipality.

 5 See ECF No. 43 (Pawtucket and Pawtucket Police defendants), ECF No. 47 (Tamara

 Wong).
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 Inc., 98 F.3d 670, 672 (1st Cir. 1996)). “[W]hen the facts support plausible but

 conflicting inferences on a pivotal issue in the case, the judge may not choose between

 those inferences at the summary judgment stage.” Coyne v. Taber Partners I, 53 F.3d

 454, 460 (1st Cir. 1995).

                                 III. BACKGROUND

       A. Christine’s Disappearance

       Christine reportedly left her house on West Avenue, Pawtucket, at about 5:15

 p.m. on January 6, 1988, sent by her mother to do several errands. (ECF No. 50-21.)

 When she had not returned after more than an hour, her mother’s boyfriend went

 looking for her. That evening she was observed at Saint’s Market at 76 Slater Street,

 Pawtucket, at about 7 p.m., where she was given a single glove because her bare

 hands were cold in the January air. Id.       She was seen later, at about 10 pm, by

 several people at a nearby Star Market. She never returned home. Id. Christine’s

 whereabouts that evening are integral to Mr. Monteiro’s claim. Christine was a child

 who frequently roamed the streets without supervision. It is undisputed that she was

 known to shoplift food, rummage through garbage cans, and steal money, and that

 she was afraid of her mother’s boyfriend. (ECF No. 56, ¶ ¶ 6-10).

       B. Joao Monteiro

       Mr. Monteiro immigrated legally to the United States from Cape Verde and

 settled in Pawtucket. (ECF No. 1, ¶ 1.) He worked loading trucks at the same

 business for fifteen years, from 2004 until his arrest in 2019. (ECF No. 50, ¶ 131.)

 By all accounts, including that of Pawtucket Police, his English was limited; he spoke



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 Cape Verdean Creole. (ECF No. 1, ¶ 39.) Before his arrest, he lived independently,

 cooking and cleaning and visiting friends and family. (ECF No. 50-56, ¶¶ 4, 5.) After

 his arrest, he moved in with his sister and stopped doing those activities. He “became

 fearful” and rarely left the house. Id. ¶ ¶ 7, 8. His sister began to care for his personal

 hygiene, which he no longer accomplished by himself. Id. ¶ ¶ 8, 10.

        C. The DNA

        When Christine’s body was found, there was a very small brown stain that

 could have been blood in the crotch of her pants. Investigators did not know whether

 the stain pre-dated the drowning or resulted from debris in which the body was found.

 (ECF No. 50-2.) The stain was “indicated” as blood (ECF No. 51 ¶ 50(b)), but the

 record is unclear on whether the stain was ever confirmed as positive for blood. That

 may be because the stain was not even mentioned in 1988 (ECF No. 56 at 23-25) and

 was not tested until the pants were re-examined in 2008. (ECF No. 50-3 at 5.) At

 that time, an investigator at the Rhode Island Department of Health (RIDOH) tested

 the stain for DNA. 6 In 2018, the investigation reopened.          Whether the stain was

 blood or not, it generated DNA, ECF No. 51 ¶ 35), and forensic scientist Wong took

 over the testing of the stain.




 6 An expert retained by the plaintiff, Meghan E. Clement, testified at a deposition

 that a 2010 report noted there was an “indication” of blood, meaning a positive
 presumption, but that it could have been a false positive, as a confirmatory test read
 negative for blood. (ECF No. 50-14 ¶ ¶ 12-13.)

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       The uncontested record supplies an elemental course in DNA forensics. 7 Only

 so much as is necessary to the Court’s decision will be described here. Testing

 produced a Y-STR profile. A Y-STR profile is a DNA profile which follows the “Y”, or

 male, chromosome. It is undisputed that by definition it can match no further than

 the “Y” chromosome genetic marker, which is shared by all males in direct line of

 descent. Thus, a Y-STR profile from a sample male will match, in relevant respect,

 the DNA of male predecessors of that male as well as male successors. Because the

 “Y” chromosome, which signifies male gender, is passed down intact, all males up and

 down the gene line will share the profile.

       The DNA profile resulting from 2008 testing was a partial one, identifying

 “alleles” 8 at only six of seventeen loci on the “Y” chromosome for testing. Testing

 obtained in 2018, during the re-opened investigation, was still partial, but identified

 alleles at twelve loci, four of which had been identified previously but eight of which

 were new. At this point, defendant Wong had a total of fourteen alleles to test – six

 from 2010 and eight from a buccal swab taken from Mr. Monteiro in 2019. The




 7 A detailed description of the DNA analysis is contained in Ms. Wong’s Statement of

 Undisputed Facts (ECF No. 48) and it is largely undisputed in Mr. Monteiro’s
 Statement of Disputed Facts (ECF No. 51).
 8 A DNA sequence is composed of “alleles” which are at specific locations on one of a

 person’s 44 autosomes. There are twenty-two pairs of autosomes composed of genes
 inherited from both parents. A twenty-third – either an XX or XY – indicates gender.
 Any single DNA sequence can be the same as someone else’s, but the combination of
 all DNA across all locations on all autosomes is unique.

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 sample produced a positive “hit” for Jerson S. (“Jerson”), 9 whose DNA was in the

 Rhode Island Department of Health database. 10 Police knew the perpetrator could

 not be Jerson because he was born after 1988 when Christine disappeared. Mr.

 Monteiro, however, is Jerson’s father, and police immediately began to focus on him. 11

 Det. Cormier does not dispute she began to focus on Mr. Monteiro because he was the

 first male she found related to Jerson.

       The emergence of Mr. Monteiro’s name, as Jerson’s father and therefore one

 sharing his “Y” chromosome, sparked an intensive scrutiny of the plaintiff. Det.

 Cormier led the investigation, assisted by Det. Lefebvre.

       D. The Defendants

              1. Pawtucket Police

       Det. Susan Cormier was assigned to lead the Pawtucket Police Department

 (“PPD”) Cold Case unit shortly before the investigation into Christine’s death was



 9 Jerson S, who was identified in the papers filed in the case, had no connection to

 Christine’s disappearance. The Court therefore does not identify him beyond his first
 name.

 10 Mr. Monteiro does not agree to the accuracy of the Y-STR profile because the DNA

 testing done by Dr. Wong consumed the entire sample, precluding confirmatory
 testing. He does not, however, contest it either. (ECF No. 51 ¶ ¶ 61, 70.)
 11 According to Det. Cormier, police did not proceed to identify or investigate any

 others of Jerson’s male relatives. (ECF No. 50-2 at 96.) Ms. Wong alleged she told
 Det. Cormier to obtain DNA samples from males who lived with Christine because
 transfer of DNA onto fabric is common. That cohabitation testing appears to be
 routine protocol, as an expert retained by the plaintiff testified at deposition that the
 absence of testing of males living in or frequenting Christine’s home was a “serious
 concern.” Det. Cormier did not do that, nor did she do a “substrate control,” which is
 a test of fabric generally to determine any effect from contamination by a family
 member. (ECF No. 50-14 ¶ ¶ 19-20.)
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 reopened in 2018. Her partner on this case was Det. Trevor Lefebvre. Det. Lefebvre

 participated in the interview of Mr. Monteiro, was present at his arrest and a pre-

 arrest meeting with state prosecutors, and was familiar with at least some of the

 evidence Det. Cormier gathered. See Lefebvre deposition (ECF No. 50-6). Det.

 Cormier and Det. Lefebvre together conducted an interview of Anthony Soares (ECF

 No. 50-2 at 61), where they learned of statements by Pedro Ortiz, which could be

 interpreted as inculpating Ortiz in Christine’s death.

       Daniel Mullen was a PPD Major, responsible for overall supervision of the

 investigation. (ECF No. 50-8 at 10, 20; ECF No. 50-7 at 12.) Tina Goncalves was the

 Chief of Police, responsible for all policies. (ECF No. 50-7 at 11.) She was briefed

 periodically by Major Mullen, but she had no involvement with Det. Cormier except

 at the press conference held to announce Mr. Monteiro’s arrest. Id. at 15, 17, 65. Her

 deposition established that Pawtucket had no system in place for supervision of

 investigations generally, and none in place for Det. Cormier despite her having been

 reprimanded many years before for inadequate investigations. (ECF No. 50-7 at 52.)

 Both Major Mullen and Chief Goncalves testified in depositions that they were

 unaware of any previous discipline of Det. Cormier for conducting inadequate

 investigations. (ECF Nos. 50-7 at 50-51; 50-8 at 16.)

              2. Tamara Wong

       Tamara Wong was a senior forensic scientist for the Rhode Island Department

 of Health. (ECF No. 51 ¶ 1.) She conducted the re-testing of the alleged bloodstain

 on Christine’s pants. Central to Mr. Monteiro’s complaint is the communication



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  between Det. Cormier and Ms. Wong. Although the initial testing had revealed only

  a familial DNA match, Det. Cormier maintains that she was led to believe by Ms.

  Wong that further testing would produce more specific results. At 5:53 p.m., Ms.

  Wong texted the Detective: “It’s a match!” (ECF No. 50-31 at 17.) Det. Cormier

  responded, “OMG!” Id. Ms. Wong complimented her on her “[n]ice detective work,”

  including in the text a “happiness” emoji. Id. Ms. Wong acknowledges that a lay

  person would take “match” to mean a unique match. Det. Cormier testified that

  because she already knew from the earlier testing that Mr. Monteiro’s DNA was

  “consistent” with the sample, she believed from the 5:53 p.m. text that something new

  – a unique match – had been found. Det. Cormier knew she didn’t understand the

  DNA process, and at 7:12 she texted Ms. Wong, asking the scientist to “translate this

  into my language. Dumb it done [sic] for mw [sic].” (ECF No. 51 ¶ 92.) Det. Cormier

  maintains that in clarifying the results, Ms. Wong did not explain that the results

  meant only that “approximately 1 in every 1,909 male individuals is expected to have

  the same partial Y-STR DNA profile as that obtained from the [stain on the pants].”

  (ECF No. 51 ¶ 85.)   Det. Cormier testified she did not learn the match was “not a

  direct match” until days after Mr. Monteiro’s arrest. (ECF No. 50-2 at 51.) Indeed,

  even at the time of her deposition in 2021, Det. Cormier continued to refer to the

  results as “a match” without qualification. (ECF No. 50-2 at 23.)

        E. The Allegedly Misleading Warrant Applications

        There were two warrants obtained and executed. First was a search warrant

  executed on July 17, 2019, to obtain Mr. Monteiro’s DNA swab. (ECF No. 50-28.) The



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  second was an arrest warrant, also executed on July 17, 2019. (ECF No. 50-35.) The

  Affidavits 12 in support of the applications were identical except that the arrest

  warrant added information about the DNA testing. The warrant affidavit included

  and omitted the following information:

                1. Christine’s Death

         The warrant affidavit included the information that Christine was found many

  miles downriver and that Christine was deathly afraid of the water and would not

  have entered it voluntarily. (ECF No. 50-35.) She was fully clothed except for

  underwear which her mother said she always wore. The affidavit described her pants

  as “extremely tight and haphazardly [fastened]” – “not fastened in a normal fasten.”

  (ECF No. 50-35.) It omitted


         •      the medical examiner’s description that the pants “were fully zipped and
                tightly buckled twice at the waistline.” (ECF No. 50-24.)

         •      the autopsy finding of no injuries or trauma to Christine’s genital area
                and no signs of sexual assault, even while including information that
                might raise a suspicion of sexual assault (the pants and lack of
                underwear). Id.

         •      that oral, rectal and vaginal smears tested negative for spermatozoa. Id.

         •      the absence of trauma or bone injury such as fractures anywhere about
                the body, and the absence of any internal hemorrhaging. Id.

         •      that the cause of death was asphyxia due to drowning and the manner
                of death was undetermined. Id.




  12 The affidavits are referred to in the singular, as it is only the arrest warrant that

  is relevant to the claims for relief.
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               2. Suspicion of Mr. Monteiro


        The affidavit alleged that Mr. Monteiro lived a “covert” lifestyle, having moved

  at least 19 times in 30 years. (ECF No. 50-35.) It asserted that he did not live at the

  address he identified as his residence, pointing to his parking in a lot next to that

  building and receiving mail at his sister’s. Id. It omitted


        •      that he maintained a public Facebook account containing his
               photograph, that he had worked for the same employer for 15 years, and
               that he wore a uniform identifying where he worked.

        •      that many of the addresses were not verified as ones he used. Mr.
               Monteiro has produced evidence indicating that at least two of these
               addresses belonged to a different Joao B. Monteiro.

        •      his explanation that his landlord had assigned him a parking spot in the
               lot next door and his assertion when interviewed that mail was more
               reliably received at his sister’s nearby.

        The affidavit claimed Christine was last seen about 7 p.m. at Saint’s Market

  and that Mr. Monteiro had admitted living in the building containing the Market

  “during that same time frame” of the disappearance. It omitted

        •      that when interviewed Mr. Monteiro denied living there in the late
               1980’s and that a stolen car report corroborated that he had lived there
               in 2001. Det. Cormier had found the owner of the building but not
               interviewed him about who lived there at what time.

        •      that the interview at which the detectives claimed Mr. Monteiro
               admitted living above Saint’s Market occurred in English, which was not
               Mr. Monteiro’s native language. It omitted that he had asked for an
               interpreter and been denied one.

        •      that well after she was seen at Saint’s Market, Christine was seen in the
               Star Market by a clerk at about 9:30 p.m. and had been caught
               shoplifting there at 10 p.m.




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        •       that a police dog had tracked her scent from Saint’s Market to Star
                Market. The Affidavit also omitted that Christine was seen after
                leaving the Star Market, walking toward the railroad tracks.

        •       Mr. Monteiro’s claim that when he lived above Saint’s Market, he
                worked night shifts.


        3. Alternate Suspect

        Dets. Cormier and Lefebvre had interviewed a person named Anthony Soares

  in 2019 at Fort Devens federal prison. (ECF No. 50-2 at 44.) Soares reported

  speaking to fellow prison inmate named Pedro Ortiz. Soares told the detectives that

  Ortiz talked about his encounter with a child named Christine, saying:

        [I] took her to the fort. She kept saying she didn’t like it. She no
        swim. She no like it but I take her anyway. She no get dirty. She no
        like the water. They never know. They no find her. She kept crying
        but I make her stop. He liked to play with her. Don’t know if it was
        sexual. She can’t swim. She no swim. She no like the water. I no
        care. …
        She wouldn’t shut up, but I made her shut up. Talked in Spanish. She
        wouldn’t be quiet. Christine. I hurt her but I didn’t mean it. … She
        kept crying, but I made her stop. Kept saying she was cute little girl.
        She was beautiful. Kristine beautiful little girl kept crying but I made
        her stop.
        They never know. They no find her.

  (ECF No. 50-43.) Soares also claimed that Ortiz attributed a scar on his forearm to

  “the little bitch.” Id. The detectives had access to Ortiz’ blood but never tested his

  DNA. The Affidavit omitted


            •   all mention of the Soares interview and existence of Pedro Ortiz. It
                omitted Soares’ claim that Ortiz also referred to “Margie,” a reference
                Det. Cormier acknowledged could have referred to Christine’s mother
                who was called “Margie.” (ECF No. 50-3 at 78.)



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           •   that Ortiz lived in the back corner of the Star Market parking lot where
               Christine was last seen. (ECF No. 50-43.)

           •   that Ortiz was in prison for murder, that he was homeless and lived on
               the railroad tracks which Christine was seen walking towards from Star
               Market. (ECF No. 50-2 at 46.)

               4. Arrest Warrant – issued at 10:30 pm. 7/17/19.
        The arrest warrant mirrored the search warrant but added information about

  the DNA testing. The affidavit described that testing revealed male blood on the

  “inside crotch of the victim’s pants.” (ECF No. 50-35.) It asserted that the closest

  match to the blood was that of Jerson S. Id. While Jerson was ruled out as a suspect,

  the affidavit declared that “the suspect for the blood found on the victim’s pants was

  in the close male lineage of Jerson S[], such as his father, grandfather, uncle, or

  brother.” (ECF No. 50-35.) The affidavit went on to state that the blood “was

  consistent” with Mr. Monteiro’s DNA profile. Id. The affidavit omitted


           •   that while the stain had preliminarily appeared to be blood, a
               confirmatory test was negative, a fact that Det. Cormier does not
               dispute. (ECF No. 56 ¶ 67.)

           •   Ms. Wong’s conclusion that the findings were consistent with every male
               in Jerson’s lineage, and that the DNA profile would match one in every
               1,909 men. It asserted to the contrary that “the suspect for the blood
               found on the victim’s pants was in the close male lineage of Jerson
               Semedo, such as his father, grandfather, uncle, or brother.” (ECF No.
               50-35) (emphasis supplied).

           •   It is disputed whether the application attached Ms. Wong’s
               Supplemental Report which explained the 1:1,909 probability. The
               affidavit refers to an “attached” report. Mr. Monteiro relies on an
               inference that it was not attached, stemming from the Magistrate’s lack
               of memory of such a report as well as the assertions from several staff of




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               the Attorney General 13 that it was not attached to the paperwork shown
               to them, when Det. Cormier went over the warrant application with
               them.


        Significantly, Det. Cormier supplied information to the magistrate not

  contained in the written affidavit. It is undisputed that she had called him earlier in

  the day to tell him she had a suspect and was expecting a DNA analysis. When she

  texted him to confirm her appointment to bring the arrest warrant application to him,

  she wrote, “We executed the warrant, did the DNA and we got a MATCH.” (ECF No.

  50-4 at 57.) He responded, “That’s pretty f**ing awesome!” (ECF No. 50-4 at 59), from

  which a jury could infer he, too, believed a “match” was a unique identifier, not merely

  a 1:1,909 possibility. While the affidavit indicates there was a report attached,

  referring to Ms. Wong’s supplemental report, the Magistrate testified he could not

  recall any report and only remembered receiving the text messages, affidavit, and

  warrant application. (ECF No. 50-11.)

        F. Aftermath: Arraignment and Release

        The Pawtucket complaint remained pending for six months. On January 31,

  2020, after reviewing the evidence, the Attorney General declined to continue to

  prosecute and dismissed the case.




  13 See e.g., Deposition of Timothy Healy, ECF No. 50-10, at 48.
                                                                Stephen Dambruch
  testified his only information when prosecutors met with Pawtucket detectives was
  that the Rhode Island Department of Health had communicated that Mr. Monteiro’s
  DNA was “a match” to the blood on the pants. (ECF No. 50-20 at 31.)
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                                    IV. THE LAWSUIT

        In his Complaint, the plaintiff consistently referred to “defendants” in the

  collective and described nine claims.     All defendants have moved for summary

  judgment. The plaintiff has explicitly described the claims he is pressing, waiving all

  others (ECF No. 52 at 27 n.6):

        1. Counts I and VII: Constitutional and state tort malicious prosecution
  against defendants Cormier, Lefebvre, and Wong; supervisory liability for Count I
  against defendants Goncalves and Mullen;
       2. Count II and VI: Arrest without probable cause in violation of the Fourth
  Amendment and common law false arrest against defendants Cormier, Lefebvre, and
  Wong; supervisory liability for Count II against defendants Goncalves and Mullen;
        3. Count IV: Conspiracy to violate civil rights against defendants Cormier,
  Lefebvre, and Wong; municipal liability against City of Pawtucket;
        4. Count V: Failure to intervene to prevent malicious prosecution and arrest
  without probable cause against Det. Lefebvre; municipal liability against City of
  Pawtucket.
         5. Count VIII:      Intentional infliction of emotional distress against all
  individual defendants;
        6. Count IX: Slander against defendants Cormier and Goncalves.


                        V. SUMMARY JUDGMENT ANALYSIS

        A. Supervisory Liability - Counts I and II (constitutional malicious prosecution

  and arrest without probable cause)

        Supervisory liability must be predicated on the supervisor’s own conduct.

  There must be an “affirmative link between the behavior of a subordinate and the

  action or inaction of his supervisor … such that the supervisor’s conduct led

  inexorably to the constitutional violation.” Feliciano-Hernandez v. Pereira-Castillo,

  663 F.3d 527, 533 (1st Cir. 2011). At the least, a supervisory official must have had


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  actual or constructive notice of the violation. Rodriguez-Garcia v. Miranda-Marin,

  610 F.3d 756, 768 (1st Cir. 2010), cert. denied, 131 S. Ct. 1016 (2011).

               1. Major Daniel Mullen

        Accepting the facts in favor of the plaintiff, it appears that Major Mullen played

  a very limited role in the investigation of Christine’s death and subsequent

  investigation of the plaintiff and no direct role in any of the wrongs Mr. Monteiro

  alleges. The plaintiff has presented evidence that Major Mullen drafted the press

  release, based on his being told that Mr. Monteiro’s DNA was a direct match to the

  suspected blood stain. (ECF No. 50-2.) Det. Cormier told him it was a “hit.” (ECF

  No. 50-8 at 41.) There is no contradiction of his assertion that he knew nothing of

  Det. Cormier’s reprimand or inadequacy of her investigative work. Compare Diaz v.

  Martinez, 112 F.3d 1, 4 (1st Cir. 1997) (supervisory liability where Assistant

  Superintendent of Police was aware of the dangerousness of an officer and his

  checkered history of grave disciplinary problems). There is no contradiction of his

  assertion that he did not review the warrant applications and that it was not part of

  his duties to do so. (ECF No. 50-8.) There is no evidence that he was in possession

  of information – or should have been in possession of information – that would lead

  him to doubt the truth and accuracy of what he was told. Moreover, Major Mullen

  testified that he was told by Det. Cormier that the Attorney General staff had

  approved the warrant application. (ECF No. 50-8.) It is undisputed that he knew

  Mr. Monteiro was being investigated because he was a direct male relative of




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  Jerson’s, and a partial DNA profile was consistent with those relatives (ECF No. 50-

  8), but there is no evidence that he knew anything more.

        There is insufficient evidence produced by the plaintiff to warrant a conclusion

  of supervisory liability against Major Mullen. His Motion for Summary Judgment on

  Counts I and II is GRANTED.

               2. Chief Goncalves

        Chief Goncalves stands in a different position.       The plaintiff has alleged

  liability against both the Chief and the City for the failure of Det. Cormier to have

  received any training in DNA which would have enabled her to understand and

  evaluate what Ms. Wong was telling her.        Inadequate training is actionable under

  42 U.S.C. § 1983, Kibbe v. City of Springfield, 777 F.2d 801, 803 (1st Cir. 1985), cert.

  granted, 475 U.S. 1064 (1986) and then dismissed, 480 U.S. 257 (1987), if the failure

  results in a program “grossly inadequate to prevent the type of harm suffered by the

  plaintiff.” A jury must be able to find “a policy of failure to train arising from

  deliberate indifference to citizens’ rights.” Santiago v. Fenton, 891 F.2d 373, 382 (1st

  Cir. 1989). A finding of deliberate indifference can be predicated on a failure to

  provide adequate training that is not merely negligent but is grossly negligent.

  Maldonado-Denis v. Castillo-Rodriguez, 23 F.3d 576, 582-83 (1st Cir. 1994).

        While Chief Goncalves’ direct actions were limited to involvement with the

  press conference, her duties as Chief of the Department could support a finding that

  she was deliberately indifferent to the need for training and the lack of relevant

  training that Det. Cormier received. The Chief, according to her deposition, was



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  responsible for all policies concerning training. She acknowledged that the only

  training members of the PPD were required to have was in firearms and dealing with

  mentally ill individuals. (ECF No. 50-7 at 96.) Det. Cormier corroborated that the

  only training she had received at all concerning DNA was how to take a swab. (ECF

  No. 50-2 at 32.) She received no training in how to handle exculpatory information,

  nor in framing applications for warrants.       She also maintained she received no

  training in how to handle requests for interpreters by suspects. (ECF No. 50-2 at

  180.)

          Mr. Monteiro alleges that his injuries were directly caused by Det. Cormier’s

  failure to understand the meaning of what Ms. Wong told her about the DNA testing.

  Chief Goncalves acknowledged the PPD had conducted no training at all in the use

  of DNA evidence. (ECF No. 50-7 at 47.)         There is no requirement that detectives

  using DNA evidence undergo any training outside the department. Id. Clearly, the

  lack of any substantive training in DNA could be found to have directly contributed

  to that Det. Cormier’s alleged failure to understand the results. In addition, the

  warrant application was allegedly filled with misleading information, and

  exculpatory information was omitted. The failure to provide training in the obligation

  to present complete and truthful information could have led directly to Det. Cormier’s

  failure to do so. Finally, if there was any confusion about what Mr. Monteiro had said

  when being interviewed, a jury could find that it was due to the failure to provide an

  interpreter even when he requested one. A jury could find a direct causal connection

  between the lack of training provided by Chief Goncalves and constitutional



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  violations committed by the detectives. A jury could also find that misunderstanding

  the significance of DNA testing was a foreseeable risk of the lack of training.

  Maldonado-Denis, 23 F.3d at 582. A further basis for Chief Goncalves’ supervisory

  liability is that as the policymaker for the PPD, she had failed to create or maintain

  policies for supervisory oversight of investigations. Members of the police department

  testified consistently at depositions that individual detectives had wide-ranging

  discretionary authority, with no review of their actions. Thus, a detective such as

  Sue Cormier was seemingly entirely on her own in deciding what leads to pursue,

  what to disregard, how inclusive to be of facts in the warrant application, and how

  extensively she could ignore facts in her possession. Chief Goncalves could be found

  accountable for the state of affairs that allowed for that autonomy. Thus, the plaintiff

  has produced sufficient evidence to forestall summary judgment for Chief Goncalves

  and her Motion for Summary Judgment is DENIED on Counts I and II.

        B. City of Pawtucket

        Municipal liability for the lack of training must meet the standards of Monell

  v. New York City Dept. of Soc. Services, 436 U.S. 658 (1978). A municipality can be

  found liable under 42 U.S.C. § 1983 “only where the municipality itself causes the

  constitutional violation at issue.” City of Canton, Ohio v. Harris, 489 U.S. 378, 385

  (1989) (emphasis original).      There must be a direct causal link between a

  municipality’s policy or custom and the alleged constitutional deprivation. Id. That

  policy or custom can be a “failure to train,” if that failure reflects a “’deliberate’ or

  ‘conscious’ choice.” Id. at 379. It is the deliberateness of the choice that makes the



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  failure to train a “policy.” Id. The municipality need not have made an actual decision

  not to train, and such a decision is not alleged here. Instead, if the “inadequacy [is]

  so likely to result in the violation of constitutional rights,” the policymakers of the

  city can reasonably be said to have been deliberately indifferent to the need. In that

  event, the failure to provide proper training may fairly be said to represent a policy

  for which the city is responsible, and for which the city may be held liable if it actually

  causes injury.” Id. at 390.

        Unlike the situation in, for example, Seekamp v. Michaud, 109 F.3d 802, 808

  (1st Cir. 1997), where the police had received some training in high-speed chases, the

  evidence here could support a finding of no training by the PPD in DNA. There is no

  dispute that the only training Pawtucket officers in general, and Det. Cormier in

  particular, had received in DNA was how to take a swab. (ECF No. 50-2 at 31-32.)

  In an era when DNA testing is an established tool of law enforcement investigations,

  and the PPD had been using DNA evidence since 2005, a jury could find that total

  failure grossly negligent. Moreover, Mr. Monteiro has proffered the opinion of Sue

  Peters, a retained consultant in police protocols. Ms. Peters’ declaration offers the

  opinion that a detective investigating major crimes, as Det. Cormier did, could be

  expected to have received sufficient training to understand how DNA evidence

  worked before applying for a warrant and making an arrest. (ECF No. 50-18.) Ms.

  Peters’ opinion is that training in Pawtucket fell “well below the standards of practice

  in law enforcement criminal investigations,” (ECF No. 50-18 at 7) and that the




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  warrant affidavit included information “that was misrepresented, not factual, and

  unverified.” Id.

        PPD officers received no training in how to draft applications for warrants,

  what those applications should include, or how they should handle exculpatory

  evidence. There was no policy in place mandating inclusion of any exculpatory

  evidence in warrant applications, nor was there any policy in place requiring

  oversight by supervisors before warrants were sought. (ECF No. 50-2, 50-8 at 46-47.)

  In addition to the overall situation regarding training, Pawtucket as an entity had

  specific knowledge about Det. Cormier’s alleged shortcomings, even if individual

  supervisors did not. She had received the lowest grade in the police training academy

  and supervisors had reported inadequate investigations after she made detective. In

  her early career, she was reprimanded for not properly investigating 40 cases, but

  was required to follow up with a supervisor for only a month. (ECF No. 50-50.)

        The plaintiff has produced sufficient evidence to warrant a denial of

  Pawtucket’s claim for summary judgment.

        C. Det. Susan Cormier and Det. Trevor Lefebvre

        While Det. Cormier was clearly the lead detective responsible for the conduct

  of the investigation, Mr. Monteiro has produced evidence that Det. Lefebvre was

  sufficiently acting in concert with her to share whatever liability she may be found to

  have had concerning certain counts. Det. Cormier testified he provided general

  assistance to her, “work[ing] together.” (ECF No. 50-2 at 42.) Although he did not

  participate in all aspects of the investigation, he conducted the interview of Mr.



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  Monteiro with her and was present at the meeting when Det. Cormier went over the

  arrest warrant affidavit with prosecutors. At his deposition, he allowed that he

  probably read over the document before it was discussed. He was also present at the

  arrest. Therefore, at a minimum he would have been aware of the assertions in the

  affidavit creating the impression that Christine was last seen at Saint’s Market and

  that Mr. Monteiro lived there at that time – assertions Mr. Monteiro contradicted

  when interviewed. See e.g., Walczyk v. Rio, 496 F.3d 139, 162 (2d Cir. 2007) (where

  affidavit stated suspect had access to his mother’s home where firearms would be

  found, omission of the fact that he had not lived there for seven years gave rise to

  liability).   Det. Lefebvre was also present at the interview with Anthony Soares.

  While there is no evidence that he was privy to the conversations between Det.

  Cormier and Ms. Wong about the DNA, he was sufficiently involved for a jury to find

  him accountable for the Affidavit’s omissions.

         1. Malicious prosecution (Counts I and VII)

         The constitutional and common law torts of malicious prosecution share three

  elements: that “the defendant (1) caused (2) a seizure of the plaintiff pursuant to legal

  process unsupported by probable cause, and (3) criminal proceedings terminated in

  plaintiff’s favor.” Hernandez-Cuevas v. Taylor, 723 F.3d 91, 101 (1st Cir. 2013). The

  constitutional action is grounded in the Fourth Amendment, Hernandez-Cuevas 723

  F.3d at 99, while Rhode Island maintains a common law basis for the state tort.

  Henshaw v. Doherty, 881 A.2d 909, 918 (R.I. 2005) (upholding grant of summary

  judgment on “common law malicious prosecution”).



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        Rhode Island state law clearly requires a fourth element: “the existence of

  malice on defendant’s part.” Id. at 915. While the Rhode Island Supreme Court has

  implied that the elements of both the constitutional and tort actions may be the same,

  the claim of unconstitutional malicious prosecution seems not to require malice. In

  Hernandez-Cuevas, the Circuit compared several approaches to the civil rights claim

  and explicitly adopted what it termed “a purely constitutional approach.” 723 F.3d

  at 101. It described three elements of the claim: “the defendant (1) caused (2) a

  seizure of the plaintiff pursuant to legal process unsupported by probable cause, and

  (3) criminal proceedings terminat[ed] in the plaintiff’s favor.” Id. It then explicitly

  declared there is “no principled reason why plaintiffs alleging a constitutional injury

  should be entitled to relief only if they can demonstrate that their claim meets all the

  elements of a common law claim.” Id. Thus, the constitutional claim is made out on

  a showing that the police conduct was “objectively unreasonable,” without the

  additional burden of showing “that the defendant officer acted with subjective

  malice.” Id. at 99.

        The vigorous dispute in this case is whether the arrest of Mr. Monteiro was

  undertaken with probable cause 14. Probable cause is ordinarily a question for a jury.

  B.C.R. Transp. Co., Inc. v. Fontaine, 727 F.2d 7, 10 (1st Cir. 1984). Where, however,

  the arrest was authorized by a duly issued arrest warrant, it is presumptively

  supported by probable cause. Generally, “[a] search warrant executed by a judicial



  14There is no dispute that Mr. Monteiro was arrested and, when the criminal
  proceedings were dismissed, they terminated in his favor. Thompson v. Clark, ___
  U.S. ___, 142 S. Ct. 1332, 1335 (2022) (an ending without a conviction is favorable).
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  officer stands as an imposing impediment to [a Fourth Amendment] claim.” Jordan

  v. Town of Waldoboro, 943 F.3d 532, 540 (1st Cir. 2019), rev’d on other grounds. The

  central question is whether the arrest warrant obtained by the Pawtucket Police may

  be relied upon in the face of evidence that the affidavit presented in support of its

  issuance was so replete with misleading information, and omitted so much

  exculpatory information, as to amount to falseness.

        A warrant is void if it depends for probable cause on knowing or recklessly false

  statements made in the affidavit supporting it. Franks v. Delaware, 438 U.S. 154,

  156 (1978). Statements that are false or misleading must be set aside and the

  remaining information must be assessed to determine whether it is sufficient to

  establish probable cause.     “[T]he intentional or reckless omission of material

  exculpatory facts from information presented to a magistrate may also amount to a

  Fourth Amendment violation.” Burke v. Town of Walpole, 405 F.3d 66, 81 (1st Cir.

  2005). In the case of allegedly material omissions, “recklessness may be inferred

  where the omitted information was critical to the probable cause determination.” Id.

  at 81-82 (quoting Golino v. New Haven, 950 F.2d 864, 871 (2d Cir.1991)). When the

  omitted information is “highly relevant,” its nature supports an inference of reckless

  disregard. United States v. Jacobs, 986 F.2d 1231, 1234-35 (8th Cir. 1993) (where

  affidavit described a sniffing dog’s “interest” in the package but failed to include the

  fact that the dog did not “alert,” the omission occurred with “reckless disregard”

  because “[a]ny reasonable person would have known that this was the kind of thing

  the judge would wish to know.”) Any police officer who obtained a warrant using



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  materially false statements or misleading information may be held personally liable

  under 42 U.S.C. § 1983. Jordan, 943 F.3d at 540-41 (citing Aponte Matos v. Toledo

  Dávila, 135 F.3d 182, 187 (1st Cir. 1998). Liability may be predicated on omissions

  as well as material included. Jordan, 943 F.3d at 541.

        When facts in a warrant affidavit are false or misleading, a Court’s function is

  to determine whether the untainted portion of the affidavit could, in a jury’s opinion,

  amount to probable cause. In this case, the amount of information that was not false

  or misleading was limited. In addition, there was much information whose accuracy

  was severely undercut by the omission of exculpatory evidence. When the affidavits

  are stripped of tainted material, they lacked persuasive information that a crime had

  been committed, that Mr. Monteiro had a motive for committing it, or that he had the

  opportunity to do so. A jury could therefore find that the arrest lacked probable cause.

        Under state law, malice means “hostility” and may be inferred simply from the

  lack of probable cause. Nagy v. McBurney, 392 A.2d 365, 367 (R.I. 1978). A showing

  that statements in an affidavit amounting to “deliberate falsehood or . . . reckless

  disregard for the truth” will inevitably satisfy the common law element of malice.

  Hernandez-Cuevas, 723 F.3d at 102 (finding “[t]his kind of reprehensible behavior

  “indistinguishable from the common law element of malice.”). Malice may be inferred

  from egregious conduct that “violated substantive or procedural due process rights

  under the Fourteenth Amendment.” Senra v. Cunningham, 9 F.3d 168, 173 (1st Cir.




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  1993). “’[A] distortion and corruption of the processes of law’ such as ‘falsification of

  evidence or some other egregious conduct’” may constitute malice. Id. 15

        A jury could find that the same conduct that underlies the plaintiff’s challenge

  to the warrant implies a motivation by the Pawtucket officers characterized by ill will

  rather than a neutral desire to discern the facts. The omissions from the warrant

  affidavit could be found to have evidenced a determination to overstate the

  incriminating evidence against Mr. Monteiro and forestall any doubts about his guilt.

  That evidence, as well as other evidence of investigative options that the detectives

  chose not to pursue (such as a comparison of Pedro Ortiz’ DNA, or an investigation of

  other males in the Monteiro/Jerson line), could support a finding of malice.

        Therefore, Dets. Cormier and Lefebvre are denied summary judgment on

  Counts I and VII.

               2. Counts II and VI (Unconstitutional and false arrest)

        The analysis of probable cause that governs the denial of summary judgment

  as to malicious prosecution demands the same result regarding Counts II and IV. A

  false arrest or imprisonment claim requires a showing that “(1) the defendant

  intended to confine [the plaintiff], (2) the plaintiff was conscious of the confinement,

  (3) the plaintiff did not consent to the confinement, and (4) the confinement was not

  otherwise privileged.” Beaudoin v. Levesque, 697 A.2d 1065, 1067 (R.I. 1997). The

  existence of probable cause defeats the claim, as it does a claim of malicious



  15 See discussion by then-Circuit (now Chief) Judge Barron, concurring in Pagán-

  González v. Moreno, 919 F.3d 582, 602-03 (1st Cir. 2019), concerning the evolving
  nature of the malice requirement of a constitutional malicious prosecution claim.
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  prosecution. Horton v. Portsmouth Police Dept., 22 A.3d 1115, 1122 (R.I. 2011). From

  the same deliberate omission of exculpatory facts — in a way that made the factual

  statements included arguably misleading and inaccurate — a jury could find the

  Pawtucket Detectives unable to rely on the arrest warrant to validate the arrest of

  Mr. Monteiro. Mr. Monteiro is entitled to a jury determination of whether there was

  probable cause to support his arrest. Therefore, Dets. Cormier and Lefebvre are

  denied summary judgment on Counts II and VI.

        D. Tamara Wong – Counts I, II, VI, and VII.

        Tamara Wong’s liability is predicated on the theory that she supplied the PPD

  with information to obtain warrants that she knew or should have known was

  misinterpreted and misunderstood in a way that falsely portrayed and overstated his

  guilt. Whether Ms. Wong’s actions constituted a reckless disregard for Mr. Monteiro’s

  rights is a jury question. So too is whether her actions were so reckless as to deprive

  her of the defense that Rhode Island law gives DOH employees for “acting in good

  faith and without malice.” 16 R.I.G.L. 1956 § 23-1-32. Ms. Wong herself was a state




  16 Ms. Wong’s reliance on § 23-1-32, entitled “Limitation on civil liability” raises
  several questions that need not be answered at this stage of litigation. First among
  them is whether this limitation has any applicability to a federal cause of action
  brought under 42 U.S.C. § 1983, or whether it is operative only as to the state law
  false imprisonment claim. Second, the statute says no employee of DOH shall be
  “personally liable for damages because of any act undertaken in the lawful
  performance of official duties.” Does that statute preclude a finding of her liability
  which would support damages against the state under respondeat superior, or does
  it merely mean that the state must indemnify her for any damages based on her
  personal liability? Both appear to be open questions under Rhode Island law. Third,
  the statute may simply be a description of the qualified immunity that is granted
  under federal law and conveyed by Rhode Island case law. See Hatch v. Town of
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  actor. And even a private person who is “a ‘willful participant in joint activity with

  the State or its agents” can be liable under § 1983 for that police conduct. Ying Li v.

  City of New York, 246 F. Supp. 3d 578, 597 (E.D.N.Y. 2017). Ying Li is widely cited

  as persuasive in this area. There, a private doctor was held liable for providing a

  “shaken baby” diagnosis that was unsupported by medical evidence or science and for

  ignoring inconsistent evidence of a metabolic bone disease. Id. at 593, 615.       Her

  action in playing an active role in the decision to prosecute was tantamount to making

  herself a deputy of the police department. Id. at 645.       “A defendant could have

  initiated a prosecution ‘by creating material, false information and forwarding that

  information to a prosecutor or by withholding material information from a

  prosecutor.’” Id. at 605.

        Det. Cormier has insisted in evidence supplied by the plaintiff that Ms. Wong

  led her to believe that the DNA testing revealed a specific match (“a match that

  singled out John Monteiro as the person who matched that DNA”), much more than

  a consistency shared with hundreds of others. (ECF No. 50-2 at 25.) Det. Cormier

  testified at a deposition that Ms. Wong led her to believe that Ms. Wong was doing

  testing beyond what had been done in 2008 that could result in a specific match and

  that, therefore, when Ms. Wong texted her, “It’s a match,” Ms. Wong was signaling

  that she had achieved that degree of certainty. Contrary to Ms. Wong’s assertion that




  Middletown, 311 F.3d 83, 90 (1st Cir. 2002) (concluding that Rhode Island law affords
  equivalent qualified immunity).
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  she merely sent one text, Det. Cormier maintains the scientist both called and texted

  her. (ECF No. 50-2 at 25.)

        Mr. Monteiro’s theory is that Ms. Wong knew or should have known “It’s a

  match” would be taken by a layperson as signaling an exclusive unique DNA match.

  That is how Det. Cormier described her reaction, “That, to me, coming from a forensic

  scientist was telling me that what I submitted to her, that she had worked on all day

  was a confirmed match to the blood on the victim’s pants.” (ECF No. 50-3 at 40.)

        I went by what she told me on the phone and what she told me on the
        text, that it was a match, and you know, having one request. When
        you're on the news for this, you know, make sure you mention the
        Department of Health. I'm not sure how else I should have taken all of
        this. I have a forensic scientist telling me, Congratulations, it's a match,
        nice work, make sure you name us on the news. That, to me, was her
        telling me time and again that we have the right person. That's what I
        believed in my heart 100 percent. Id. at 139.
  Ms. Wong seeks summary judgment based on two propositions: first, that her DNA

  analysis was accurate and, indeed, Mr. Monteiro agrees that it was. (ECF No. 47,

  Part A.)   Second, she argues that her text statement that “It’s a match” was of no

  consequence because it was not included in the warrant application. 17 As to the first,




  17 Ms. Wong misconceives the relevance of the settled law that probable cause must

  ordinarily be gauged based on information within the four corners of the warrant
  affidavit. United States v. Christopher, No. CR 20-491 (IM), 2021 WL 3910152, at *
  1 (D.N.J. Sept. 1, 2021). That precept governs the inquiry as to whether the affidavit
  presents sufficient information to support probable cause. This case, however,
  involves false or misleading information presented to the magistrate outside the
  affidavit. The issue is causation: whether the “it’s a match” conclusion influenced
  the issuance of the warrant and therefore whether Ms. Wong played a role in its
  issuance. Moreover, the “four corners” rule is not absolute. United States v. Lucas,
  379 F. Supp. 3d 182, 192 (W.D.N.Y. 2019) (affidavit may be supplemented by sworn
  testimony).
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  the point is irrelevant to the plaintiff’s allegation which is that she recklessly fostered

  a mistaken belief about the meaning of her analysis. And as to the second, she

  intended her conclusion to be part of the probable cause submission, she knew that it

  would be communicated, and in fact it was communicated by Det. Cormier in a text

  conversation with the magistrate. Thus there is ample causation between Ms. Wong’s

  actions and the injury claimed.

        Ms. Wong’s direct conduct in supplying misleading information in support of

  the warrant applications is sufficient to allow a jury to find her liable for an arrest

  without probable cause in violation of the Fourth Amendment and under Rhode

  Island state law.

        A jury could also determine that she played a critical role in the initiation of

  the prosecution, such as to make her liable for malicious prosecution. Her role was

  similar to the doctor’s in Ying Li v. City of New York. Her assertion that Mr.

  Monteiro’s DNA was “a match” propelled what was only an investigation into an

  arrest. Before she communicated the DNA results to Det. Cormier, the police had

  taken no steps to secure an arrest warrant. Clearly, while many suspicions played

  in the minds of the detectives, Mr. Monteiro was perceived as a suspect and not “the

  perpetrator” until Ms. Wong declared his DNA a match. Moreover, a jury could

  believe from this evidence that Ms. Wong knew very well that her communication –

  eagerly awaited by Det. Cormier – would cause the detectives to seek an arrest

  warrant. This activity could warrant a finding that she played a role in the initiation

  of the prosecution.



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        Ms. Wong’s Motion for Summary Judgment on Counts I, II, VI, and VII is

  therefore denied.

        E. Conspiracy to Violate Civil Rights – Count IV

        Liability for conspiracy to violate civil rights requires an agreement “to act in

  concert to inflict an unconstitutional injury,” plus an overt act committed in

  furtherance of the conspiracy which causes damages. Williams v. City of Boston, 771

  F. Supp. 2d 190, 204 (D. Mass. 2011). The agreement, which rarely is proven by direct

  evidence, can depend on circumstantial evidence. Id. at 205, Santiago, 891 F.2d at

  389. The understanding between coconspirators may be tacit. United States v.

  Echeverri, 982 F.2d 675, 679 (1st Cir. 1993).

        The plaintiff claims three defendants participated in such a conspiracy: Dets.

  Cormier and Lefebvre, and Ms. Wong. There is no evidence produced by the plaintiff

  that Ms. Wong had agreed to act in concert with the detectives. To the contrary, the

  evidence is manifest that they shared no meeting of the minds: that there was a

  massive misunderstanding between the scientist and the detectives. Ms. Wong may

  be potentially liable for creating the misunderstanding, but that does not mean she

  intended it. Her Motion for Summary Judgment as to Count IV is GRANTED.

        Dets. Cormier and Lefebvre, according to the plaintiff’s evidence, conducted

  much if not most of the investigation together, they participated in the major events

  together, they were privy to the same information outside of Det. Cormier’s

  communications with Ms. Wong about DNA.             They were privy to the same

  exculpatory evidence that was omitted from the affidavit, and the same information



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  that made many of the affidavit’s statements misleading. Although it was Det.

  Cormier who drafted the affidavit, Det. Lefebvre acknowledged he proofread it, and

  he acquiesced in it during the meeting with the Attorney General staff. When officers

  act jointly, a jury can infer they were acting pursuant to an agreement. Williams,

  771 F. Supp. 2d at 205. There, the officers responded to 911 calls together, were

  jointly involved in the investigation, and pursued false charges with fabricated

  evidence together. Id. The First Circuit concluded that these activities supported an

  inference of an agreement. Id. In this case, the joint activities of the two detectives

  were not much different, and the plaintiff is entitled to have a jury assess what

  inferences, if any, can be drawn. Dets. Cormier and Lefebvre’s Motions for Summary

  Judgment as to Count IV are DENIED.

        F. Count V: Failure to Intervene

        Law enforcement officers have an affirmative duty to intervene to protect the

  constitutional rights of citizens from infringements occurring in their presence.

  Terebesi v. Torreso, 764 F.3d 217, 243 (2d Cir. 2014). To be found liable, the officer

  must have had a “realistic opportunity” to intervene, “normally a question of fact for

  the jury.” Id. at 244.

        The only individual against whom this claimis pursued is Det. Lefebvre. 18

  Based on the evidence Mr. Monteiro has tendered, a jury could find that when Det.




  18 The parties have not addressed this point, but presumably if the case goes to trial,

  a jury would have to elect between Det. Lefebvre’s liability for failure to intervene
  and his direct liability for the state and constitutional torts. He cannot logically be
  liable both for acting and for failing to intervene to prevent his own actions.
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  Lefebvre reviewed the warrant affidavit before it was submitted, and, when he

  attended the meeting at which Det. Cormier went over the affidavit with Attorney

  General staff, he had the opportunity to intervene to forestall the constitutional

  violation that Mr. Monteiro alleges. He knew of assertions in the affidavit that had

  been contradicted by Mr. Monteiro and that Mr. Monteiro’s purported admission to

  living above Saint Market’s at the time of Christine’s disappearance was not accurate.

  He also knew of exculpatory explanations Mr. Monteiro had given at his interview

  that were not included in the affidavit, rendering the assertions about Mr. Monteiro’s

  “covert” lifestyle arguably misleading.    Finally, he was present at the Soares

  interview and had reason to know, therefore, that a major piece of potentially

  exculpatory information was omitted. See gen’ly, Deposition of Det. Lefebvre (ECF

  No. 50-6.) There is sufficient evidence to bring Count V to a jury and Det. Lefebvre’s

  Motion for Summary Judgment is DENIED.

               G. Count VIII: Intentional infliction of emotional distress

        Rhode Island recognizes a claim for intentional infliction of emotional distress.

        ‘In order to impose liability on a defendant for intentional infliction of
        emotional distress: (1) the conduct must be intentional or in reckless
        disregard of the probability of causing emotional distress, (2) the
        conduct must be extreme and outrageous, (3) there must be a causal
        connection between the wrongful conduct and the emotional distress,
        and (4) the emotional distress in question must be severe.’
  Shannahan v. Moreau, 202 A.3d 217, 230 (R.I. 2019) (quoting Gross v. Pare, 185 A.3d

  1242, 1245-46 (R.I. 2018)) (emphasis original). But state law is also clear that to

  pursue that cause of action a plaintiff must suffer some physical manifestation of the

  emotional condition that a defendant’s actions has allegedly caused. “Furthermore,

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  ‘this Court has required at least some proof of medically established physical

  symptomatology for both intentional and negligent infliction of mental distress.’” Id.

  at 230 (quoting Gross, 185 A.3d at 1246).

        Mr. Monteiro has alleged no physical symptomatology in his Amended

  Complaint. “The existence of resulting physical symptomatology” must be pleaded.

  Clift v. Narragansett Television L.P., 688 A.2d 805, 813 (R.I. 1996). It must then be

  supported by medical evidence. “[W]e require for recovery, however, along with the

  vast majority of judicial authority, that psychic as well as physical injury claims must

  be supported by competent expert medical opinion regarding origin, existence, and

  causation.” Vallinoto v. DiSandro, 688 A.2d 830, 839 (R.I. 1997).

        In the absence of physical symptomatology pleaded and supported, all

  defendants are entitled to summary judgment on Count VIII.

        H. Count IX: Slander

        Slander or defamation, a state tort, consists of an unprivileged false and

  defamatory communication to a third party with fault amounting at least to

  negligence, and damages.     Kevorkian v. Glass, 913 A.2d 1043, 1048 (R.I. 2007). A

  statement is defamatory if it is both false and “imput[es] conduct which injuriously

  affects a [person’s] reputation, or which tends to degrade him [or her] in society or

  bring him [or her] into public hatred and contempt.” Alves v. Hometown Newspapers,

  Inc., 857 A.2d 743, 750 (R.I. 2004). If the communication is made in good faith, in the

  belief that the speaker has a legal, moral, or societal duty to speak in order to protect

  his own or a third party’s interest, the law conveys a qualified privilege. Id. The



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  defendants’ primary argument is that Mr. Monteiro has not specified the public

  statement he claims was both false and defamatory. To the contrary, his Complaint

  identifies that statement as the “public[] and false[] procla[mation] that there was a

  DNA match between the blood found in the girl’s pants and Plaintiff.” (ECF No. 1, ¶

  56.)   Although the words are not quoted, the content of the allegedly false and

  defamatory statement is sufficiently described.

           The statement does not fall into the realm of opinion, which enjoys some

  greater protection under Rhode Island law. Burke v. Gregg, 55 A.3d 212, 220 (R.I.

  2012).    It asserted a historical fact:   that the DNA found on Christine’s pants

  “matched” that of Mr. Monteiro. In the context of a press conference, it was also not

  pronounced as an interpretation of facts, but as an actual fact.

           “[W]hether or not the meaning of a particular a statement is defamatory is one

  of law for the court” under Rhode Island law. Gordon v. St. Joseph’s Hosp., 496 A.2d

  132, 136 (R.I. 1985). It is not a factual issue for a jury to determine. Beattie v. Fleet

  Nat. Bank, 746 A.2d 717, 721 (R.I. 2000), although a jury must determine whether

  the statement was false, whether it was communicated negligently, and whether it

  caused an injury. In this case, the Court finds the statement defamatory. Words are

  to be given their ordinary and plain meaning, Swerdlick v. Koch, 721 A.2d 849, 860

  (R.I. 1998), and all the defendants have admitted that a layperson – which reporters

  and the public are – would interpret the word “match” as signifying a unique

  identification of a specific, singular individual. Thus, conveying to the public that the

  DNA on Christine’s pants “matched” Mr. Monteiro was tantamount to proclaiming



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  he was with Christine at the time of her death; the near-compelling inference – and

  indeed the one the Pawtucket Police intended the public to draw – was that Mr.

  Monteiro killed her. It cannot be seriously contested that such an accusation conveys

  a defamatory meaning. A jury must decide whether the communication was made

  in a context that subjects the defendants to liability.

        The Complaint asserts liability for defamation on the part of both Chief

  Goncalves and Det. Cormier, who conducted the press conference jointly. See Exhibit

  ZZ, ECF No. 50-53). The defendants maintain that the plaintiff has failed to be

  specific enough about the falsity put forth at the press conference. There is no

  transcript of the press conference, nor any deposition testimony about what was

  actually said. However, the plaintiff has put forth a subsequent newspaper report

  alleging that Pawtucket claimed a “match” of Mr. Monteiro’s DNA to blood on

  Christine’s pants. While Pawtucket disputed that assertion as “argumentative,” it

  does not apparently dispute its accuracy. (ECF No. 56, Pawtucket SDF ¶ 215.)

  Pawtucket also asserted the DNA was “consistent” with Mr. Monteiro’s, which was

  true, but according to the news report, Pawtucket had been more unequivocal about

  the “match” at the time of the news conference than it was six months later when the

  Attorney General declined to prosecute. (ECF No. 56-19.) In order to recover, the

  plaintiff will have to prove exactly what was said at the press conference, as well as

  its falsity, but what he has come forward with thus far is sufficient to present a jury

  issue concerning the falsity of statements made.




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        The issue of who might be liable, however, is less straightforward. A jury could

  find that based on what she knew, when Det. Cormier told Major Mullen the DNA

  sample from Mr. Monteiro was a “match” – the information that instigated the press

  conference and was announced there – she did so with knowing or reckless disregard

  for its accuracy. There is ample evidence in the record that Det. Cormier knew that

  the word “match” would be understood as meaning a unique identification of Mr.

  Monteiro as the perpetrator. There is no evidence, however, that Chief Goncalves

  knew or should have known anything other than what Det. Cormier told Major

  Mullen, which was that there was a “match.” Nothing that the plaintiff has presented

  would warrant a juror in believing that Chief Goncalves displayed a reckless

  disregard for the accuracy of what she reported to the press or its outright falsity.

  Chief Goncalves, therefore, is entitled to summary judgment on Count IX, while Det.

  Cormier is not.

                             VI. QUALIFIED IMMUNITY

        The defendants posit that they are entitled to qualified immunity on all federal

  claims “because Detective Sue Cormier had probable cause to request an arrest

  warrant for Plaintiff, and her actions were reviewed and approved by prosecutors and

  a neutral magistrate.”    The defendants frame the inquiry wrongly.         Qualified

  immunity protects government officials from damages resulting from their

  unconstitutional conduct. The doctrine has two elements: (a) that a constitutional

  violation was committed; (b) but without violating “clearly established statutory or

  constitutional rights of which a reasonable person would have known.” McDonald v.



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  City of Boston, 334 F. Supp. 3d 429, 438 (D. Mass. 2018). The application of qualified

  immunity thus presumes that a constitutional violation has occurred. Maldonado v.

  Fontanes, 568 F.3d 263, 269 (1st Cir. 2009). Thus, if Det. Cormier could rely on the

  existence of probable cause or approval of her application for an arrest warrant by a

  neutral and detached magistrate, she would be shielded by the lack of a constitutional

  violation, not by the application of qualified immunity. Wheeler v. City of Searcy,

  Ark., 14 F.4th 843, 852 (8th Cir. 2021) (the issuance of a warrant “is the clearest

  indication that the officers acted in an objectively reasonable manner or . . . in

  ‘objective good faith’”) (partially quoting Messerschmidt v. Millender, 565 U.S. 535,

  546 (2012) (ellipse original). But an affiant who has “recklessly or knowingly placed

  false information in the affidavit that misled the issuing judge” is not afforded that

  protection. Id. at 852.

        The same reason, however, that precludes summary judgment on the malicious

  prosecution and false arrest claims stands as an obstacle to the court bestowing

  qualified immunity:       the review by the magistrate and resulting warrant were

  allegedly wholly contaminated by the misleading and false information contained in

  the affidavit. If a jury were to find that the affidavit was, in material respect, full of

  misleading and false statements, as well as omissions of exculpatory information that

  should have been included, the warrant must be considered void for all purposes. 19



  19 The Pawtucket Police defendants raise the approval of the Attorney General staff

  of the warrant application as a shield precluding liability on their part and as an
  affirmation that probable cause existed. (ECF No. 45, at Part IV.) The facts omitted
  from the warrant application, which arguably made the affidavit too misleading and
  inaccurate, were not conveyed to the Attorney General’s staff either. See e.g.,
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        The applicability of qualified immunity stumbles at the second prong as well.

  The law prohibiting false or misleading statements in support of a search warrant

  has been settled since at least Franks v. Delaware, in 1978. 438 U.S. at 156. The

  First Circuit recognized in 2005 that the omission of material exculpatory

  information is of the same consequence as false information Burke, 405 F.3d at 81.

  The conduct alleged by the plaintiff here does not amount to mere “misjudgments,”

  Mejia v. Charette, No. 12-cv-449, 2014 WL 576140, at *2 (D.R.I. Feb. 12, 2014), but

  instead is alleged to have been intentional or reckless skewing of the facts in order to

  create a stronger appearance of Mr. Monteiro’s guilt. The reliance of the Pawtucket

  defendants on Wynn v. City of Griffin, No. 19-10479, 2021 WL 4848075, at *1 (11th

  Cir. Oct. 18, 2021) is misplaced. There, as in this case, the warrant affidavit was

  reviewed by local prosecutors and a warrant was issued by a magistrate. In Wynn,

  however, even though the charges were dismissed against the plaintiff, there is no

  suggestion that the warrant affidavit was incomplete or false. The essence of the

  claim here is that the affidavit reviewed by the Attorney General and magistrate were

  intentionally or recklessly misleading and false: if that were true, the Pawtucket

  cannot rely on the “approval” of it by others who were oblivious of the facts.



  Deposition of Timothy Healy, ECF No. 50-10). That precludes reliance on their
  “approval” when they were given only a partial picture devoid of exculpatory
  information in a way that made the case against Mr. Monteiro seem much stronger
  than it was. The same analysis that renders the warrant arguably void precludes
  reliance on the prosecutors’ “approval.” Wynn [v. City of Griffin, No. 19-10479, 2021
  WL 4848075, at *1 (11th Cir. Oct. 18, 2021)], is not “strikingly similar” as these
  defendants suggest; there is no indication in the opinion that the affidavit was in any
  way unreliable. Here, the allegation is that certain Pawtucket defendants decided to
  demonstrate probable cause by deliberately omitting facts that undercut it.
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                                 VII. CONCLUSION

        The Pawtucket defendants have presented no argument on the claim that the

  warrant affidavit contained false and misleading statements and omitted necessary

  material exculpatory information.    Their Memorandum in support of summary

  judgment (ECF No. 45) does not address those allegations, but argues simply that the

  contents of the affidavit demonstrated probable cause. Their Reply Memorandum

  addresses only the slander claim. (ECF No. 57.) As to Defendant Wong, the plaintiff

  has presented sufficient evidence to entitle him to a jury determination of whether

  she was responsible for the inaccurate “version” of the DNA evidence upon which Det.

  Cormier relied in seeking the arrest warrant

        For the reasons explained above, the Court partially grants and partially

  denies all the defendants’ Motions for Summary Judgment as follows:

        1.   Defendant Mullen’s Motion for Summary Judgment (ECF No. 43) is

  GRANTED as to all counts.

        2. Defendant Goncalves’ Motion for Summary Judgment (ECF No. 43) is

  GRANTED as to Counts VIII and IX and DENIED as to Counts I and II.

        3.   Defendant Cormier’s Motion for Summary Judgment (ECF No. 43) is

  GRANTED as to Count VIII and DENIED as to all other Counts.

        4.    Defendant Lefebvre’s Motion for Summary Judgment (ECF No. 43) is

  GRANTED as to Count VIII and DENIED as to all other Counts.

        5.    Defendant Wong’s Motion for Summary Judgment (ECF No. 47) is

  GRANTED as to Counts IV and VIII, and DENIED as to Counts I, II, VI, and VII.



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        6.   The City of Pawtucket’s Motion for Summary Judgment (ECF No. 43) is

  DENIED.



  IT IS SO ORDERED:




  _______________________________
  Mary S. McElroy,
  United States District Judge

  September 28, 2023




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